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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                          Case No.    3:08cr136LAC

DAVID W. WEBB
                                  /


                JUDGMENT OF ACQUITTAL ON JURY VERDICT


     The above entitled cause came on for trial by a jury, and the
jury having returned a verdict of not guilty as to Count Forty-One,
it is thereupon

     ORDERED and ADJUDGED that the defendant is not guilty of Count
Forty-One as charged in this cause.


     DONE and ORDERED at Pensacola, Florida, this 5th day of
October, 2009.




                                        s /L.A. Collier
                                        LACEY A. COLLIER
                                        Senior United States District Judge
